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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

   Civil Action No. 20-cv-2174

   BARRY ALAN SULLIVAN, and
   JENNIFER DIESMAN SULLIVAN,

         Plaintiffs,

   v.

   EBNER REAL ESTATE, LLC d/b/a SIGNATURE PROPERTIES
   EBNER & ASSOCIATES a/k/a EBNER & ASSOCIATES SIGNATURE PROPERTIES, a
   Colorado Limited Liability Company, and
   JESSE EBNER, individually,

         Defendants.


   UNOPPOSED MOTION FOR ENLARGEMENT OF TIME TO RESPOND TO COURT’S
                         SHOW CAUSE ORDER




         Plaintiffs Barry Alan Sullivan and Jennifer Diesman Sullivan move for an

   enlargement of time to respond to the Court’s Show Cause Order because counsel for

   Plaintiffs, Neal S. Cohen (“Cohen”), did not receive notice of the Show Cause Order

   until September 1, 2020. The grounds for this motion are as follows:

         Plaintiffs filed their Complaint on July 23, 2020.

         On July 27, 2020, the Court issued a Show Cause Order requiring Plaintiffs to

   respond by July 29, 2020 alleging the citizenship of each member of Defendant Ebner

   Real Estate, LLC in order to adequately demonstrate the basis for the Court’s diversity

   jurisdiction under 28 U.S.C.§ 1332.
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          Cohen did not receive notice of the Court’s Show Cause Order. See Declaration

   of Neal S. Cohen (“Cohen Decl.”), attached hereto, at ¶ 3.

          On September 1, 2020, Cati Shadakofsky, counsel for Defendants, emailed the

   undersigned counsel for Plaintiffs stating that she had filed the Answer to the Complaint.

   Cohen Decl. at ¶ 4.

          Cohen had not received notice of the filing of the Answer, so he went to the

   Court’s PACER system to obtain it. At that point, he learned for the first time of the

   Court’s July 27, 2020 Show cause Order. Cohen Decl. at ¶ 5.

          Cohen immediately called the Office of the Clerk of the United States District

   Court for the District of Colorado to ascertain the reason for his failure to receive any

   notices of filings in this matter. Cohen was informed that the Court’s electronic filing

   system showed that his email – neal@sullcoh.com -- was “inactive.” In fact, Cohen’s

   email – neal@sullcoh.com – is not inactive. The Clerk referred Cohen to Mark

   Fredrickson at Attorney Services and transferred the call to Mr. Fredrickson. Cohen

   Decl. at ¶ 6.

          Because Mr. Fredrickson did not answer the call, Cohen left a voice mail

   message explaining the problem. Mr. Fredrickson responded a short time later by email

   explaining that Cohen’s noticing had been switched off. Cohen Decl. at ¶ 7.

          Having received actual notice of the Court’s Show cause Order on September 1,

   2020, Plaintiffs immediately prepared the attached Response to Order to Show Cause.

   Cohen Decl. at ¶ 8.
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         Pursuant to D.C.COLO.LCivR 7.1, counsel have conferred with respect to this

   request and counsel for Defendants has no objection to this requested enlargement.

         For the reasons set forth above, Plaintiffs respectfully request an enlargement of

   time of 48 hours from the time the Court grants the motion to file the attached Response

   to Order to Show Cause.

   DATED: the 2nd day of September 2020.




                                                  s/ Neal Cohen
                                                  Neal Cohen
                                                  Sullivan Cohen LLC
                                                  1495 Canyon Boulevard
                                                  Boulder, CO 80302
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                                                  Email: neal@sullcoh.com
                                                  Attorney for Plaintiffs Barry Alan Sullivan
                                                  and Jennifer Diesman Sullivan


                                CERTIFICATE OF SERVICE


         The undersigned hereby certifies that on this 2d day of September, 2020, a true
   and correct copy of the foregoing was e-served via CM-ECF to the following:

         James M. Meseck
         E. Catlynne Shadakofsky
         White and Steele, P. C.
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         Denver, CO 80202
         Attorneys for Defendants
